The first count describes a number of transactions which were entered into by the plaintiff's decedent in reliance upon certain representations made to him by one or more of the defendants. Out of this state of facts, it would seem that the plaintiff may claim a cause of action in contract or in tort. It is not necessary that he designate which he will pursue; his only duty is to state the facts.Knapp vs. Walker, 73 Conn. 459. It may be, too, as seems to be indicated by the alternative claims for relief, that he will contend that a fiduciary relationship arose out of the *Page 419 
dealings of the defendants or some of them toward the decedent which was violated, giving rise to equitable relief in the form of an accounting. The fact that he may claim such relief and also damages for breach of contract in a single count is not reprehensible under our system of pleading.Makusevich vs. Gotta, 107 Conn. 207, 208.
   Motion denied.